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                             Exhibit D
             Case 7:24-cv-00114-B                 Document 1-5             Filed 08/06/24             Page 2 of 9        PageID 64
  Message


  From:                                               orsted.com]
  Sent:            08/12/2022 8:04:32 AM
  To:               Rob Rakowitz ~wfanet.org]
  Subject:          RE: Support to 0rsted about Twitter situation



  Hi Rob,

  I tried to sign up for the event today but it says there are no more available tickets.

  Is it possible to set up a meeting with you to hear more about the Twitter situation and the dialogue you had with Elon
  Musk focusing on expectations to actions to ensure brand safety?




  From: Rob Rakowitz <r.rakowitz@wfanet.org>
  Sent: 7. december 2022 10:31
  To:
  Cc                                    wfanet.org>;                                                       wfanet.org>
  Subject: Re: Support to ¢rsted about Twitter situation

  Hi-

  Yes - but please have them register as members of GARM.
  - c a n help you with this.

  Thanks

  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media

  WFA-World Federation of Advertisers
  Brussels• London • New York• Singapore



  WFA values and encourages flexible working patterns, with teams working across multiple time zones.
  Although I have sent this at a time that is convenient for me, it is not my expectation that you read,
  respond or follow up on this email outside your hours of work.




  From                                   orsted.com >
  Date: Wednesday, December 7, 2022 at 04:10
  To: Rob Rakowitz -                         >
  Subject: RE: Support to {Z)rsted about Twitter situation

  Hi Rob,



                                                                    Appendix 116

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  Is it going to be discussed at the meeting tomorrow - and is it okay if I share the invite with some of my colleagues to let
  them participate in this meeting?




                       1

  From: Rob Rakowitz - >
  Sent: 2. december 2022 18:48
  To                               orsted.com >     1
                                                                                    fp wfanet.org>
                          rsted about Twitter situation




  This is likely to come up and be discussed in the Community Call on Thursday next week. Can we discuss then and there?

  Thanks

  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media
  World Federation of Advertisers




  From:                                orsted.com >
  Sent: Friday, December 2, 2022 2:23:39 AM
  To                                 wfanet.or >; Rob Rakowitz - 1 , g > wfanet.org>
  Subject: RE: Support to rsted about Twitter situation



  I hope everything is well.

  I know you had planned to have a meeting yesterday with Elon Musk. Is it possible to arrange a meeting next week to
  learn more about how the conversation went and how you see the situation now and expectations going forward?

  Thanks a lot - and have a wonderful weekend!




  From:
  Sent: 14. november 2022 16:06
  To:                               orsted.com >; Rob Rakowitz-t wfanet.org>
  Subject: Re: Support to ¢rsted about Twitter situation


                                                            Appendix 117

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  We are still working through some of the responses from the survey. How does Thursday at 2pm sound?




 -Best,



  From:                                 orsted.com >
  Sent: Monday, November 14, 2022 6:08 AM
  To:                                 wfanet.or >; Rob Rakowitz -                         >
  Subject: FW: Support to ¢rsted about Twitter situation

  Hi~ndRob,

  I hope you both are doing well.

  We are following the conversation and communication about the Twitter situation very closely. It seems like some
  agencies are now starting to recommend their clients to pause all advertising on the platform.

  We would like to make a situation/complication/resolution presentation to top management based on your
  recommendations.

  Do you know when you have more info from the survey you sent out last week - and can we arrange a meeting one of the
  coming days where you share your reflections and results?

  Thanks a lot for your support - and look very much forward to hearing from you.




  From:
  Sent: 8. november 2022 12:40
  To:                                 wfanet.or >
  Subject: RE: Support to ¢rsted about Twitter situation



  Thanks for getting back to us.

  It sounds good with he survey and the talk with Twitter and Elon Musk.

  We would very much like to know more as soon as you have the results. When do you expect to have it? Do you think
  Tuesday next week is realistic to share the results and your recommendations?

  Do you have a description on the situation that you can share?

  Thanks a lot for your support.




                                                        Appendix 118

Confidential-Not For Public Release                                                        HJC-WF A-GARM-000051209
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  From:
  Sent: 7--:-november 2022 14:04
    : -
  l o·                              orsted.com >
  Subject: Re: Support to ¢rsted about Twitter situation




  I hope you're doing well. While I don't manage Rob's calendar, I can certainly nudge him to see when he is
  available. I assume he is waiting to get back to you as I've just sent out a survey to some of our members to
  gauge their perceptions on the issue. We will have the results from that survey by EoW, have been in constant
  contact with Twitter and plan to meet with Elon in the coming weeks. Would it make sense to schedule
  something next week after the survey results come in?




  -
  Best,




  I haven't heard from Rob and the Twitter issue is critical to us.

  Would you be able to help us and set up a meeting where we can learn more?

  Thanks a lot!




  From
  Sent: 4. november 2022 16:48
  To: Rob Rakowitz ~           >
  Subject: FW: WFA~ g meetings and events

  Hi Rob,

                                                           Appendix 119

Confidential-Not For Public Release                                                     HJC-WFA-GARM-000051210
            Case 7:24-cv-00114-B          Document 1-5          Filed 08/06/24        Page 6 of 9      PageID 68
  I'm reaching out to you to ask you if it's possible to arrange a meeting and hear more about your perspectives about the
  Twitter situation and a possible boycott from many companies.

  As you know we have a lot of focus on responsible marketing and we are about to make a recommendation to
  management about actions and when we need to consider whether we should continue promotion on the platform or find
  alternatives. It is an important platform for us in the US market and it will have an impact that we need to asses and
  outline.

  Is this something you can help us with by setting up a meeting Wednesday next week to hear your perspectives and
  advise?

  Looking forward to hearing from you - and have a great week-end!




 From:                         orsted.com >
 Sent: 9. september 2022 08:33
 To: Rob R a k o w i t z ~ >                                                 Jg,orsted.com>
 ~ >
 Cc:                             orsted.com >
 Subject: RE: WFA Insight Forum: Upcoming meetings and events

  Hi Rob,

  Thanks so much, it's really been a pleasure working with you and the GARM team. You were invaluable during the Stop
  Hate for Profit campaign and we've learned so much about the importance of companies taking a leading role in holding
  platforms responsible, and the continued efforts of the GARM team to promote transparency and accountability is more
  important than ever.

  As for who'll j o i n ~ 0rsted , I'll leave that up to                      &-o
  decide. H o w e v e r - w a s - ·er the last two years and ,is a great p ~ -
  meetings, conversations etc. However I'll let and - s y n c and get back to you on who'll join from 0rsted.

  Thanks again and all the best A




  Hi-

  Congrats on the new role - it sounds really exciting,
  Likelllll am truly humbled by your feedback!
  Let's definitely stay in contact - and let us know when the right time to reengage is at

  Is there a person to join GARM from Orsted we should reach out to?


                                                         Appendix 120

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  Please let me know.

  Thanks!
  Rob

  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media

 WFA-World Federation of Advertisers
 - • New York• Singapore



  WFA values and encourages flexible working patterns, with teams working across multiple time zones.
  Although I have sent this at a time that is convenient for me, it is not my expectation that you read,
  respond or follow up on this email outside your hours of work.




  From:                      orsted.com >
  Date: Wednesday, September 7, 2022 at 03:55
  To:                       ......:.:~..:.:::.:c:.::.:.~>

  Cc: Rob Rakowitz                      wfanet.or >
  Subject: RE: WFA Insight Forum: Upcoming meetings and events

  Hi-

  Thanks so much for the kind words, and when the dust settles after landing a t - I have every intention of signing us
  up to WFA & GARM.

  Regarding the Insights Forum I suggest reaching out to:




 -Have a fantastic day too &




  From:

  Sent: 6. september 2022 15:30
                                    s.......:.::....:...::.:....:..=..:..:..::..:..c.>



  To:                        orsted.com >
  Cc: Rob Rakowitz              wfanet.or >
  Subject: RE: WFA Insight Forum: Upcoming meetings and events



  First of all, congratulations on your new role, seems like an exciting new chapter in your career.
  Secondly, thank you so much for letting us know and for all the appreciation for WFA's work, we're humbled to read such
  kind words! And I am honestly a bit sad to lose such a positive and enthusiastic member of our Insight Forum, but we'd be
  more than happy to have you with us for the next events in September.

  May I ask who I can connect with to represent 0rsted in the Insight Forum?




 -Have a wonderful day,




                                                                                         Appendix 121

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  From:                         orsted.com >
  Sent: 06 September 2022 11:28
  To:                      'ii         •>

  Cc:                            ,     net.or >
  Subject: RE: WFA Insight Forum: Upcoming meetings and events

  Hi-

  Many thanks for this digest, looking forward to the events in September.

  I also wanted to let you know that I'm leaving 0rsted to join                                                            hich
  will sadly result in loss of WFA & GARM membership @.Jt's been an absolute pleasure being part of the incredible WFA
  & GARM communities, and I wanted to thank you and -           for all of the help, support and guidance you've provided.
  You're doing incredible work which has made my life as a responsible marketer at 0rsted much, much easier and more
  fulfilling.

  If we don't speak again before my departure then I wish you all the best and please pass along my thanks and best
  regards to the WFA & GARM teams who's tireless efforts are truly inspiring.




  To:                        orsted.com >
  Subject: WFA Insight Forum: Upcoming meetings and events




   I hope you had a nice summer and a smooth start to a productive autumn.


   We have some great upcoming events which might interest you:


   1. Spotlight: Clients and creativity (6 and 7 Sep, remote) - Join Contagious, Observatory International,
   Heineken, Cathay Pacific, RGA, and Publicis, as we explore results from WFA's global study into clients &
   creativity, spanning 34 markets. Uncover the biggest barriers to progress, around the world, and opportunities to
   become a more creative, and effective, marketing organisation. You can register here. These sessions will be
   recorded.


   2. Insight Forum ( 13 Sep, remote)                                          will share learnings from a recent joint
   project with WFA, looking at how C       earns can    rive cus omer cen nc1 y, and business success within their
   organisations.-(Coca-Cola) will share how a Coca-Cola reorg centralised and standardised Marketing
   Insights protocols for consistency across the globe. The agenda is here and you can register here. This session
   will not be recorded.


   3. Spotlight: Consumer insights through a diversity and inclusion lens (29 Sep, remote) - Rich, unbiased
   audience data and insights will allow marketing teams to identify the right brand strategies that include, rather than
   exclude, minority or unrepresented groups, thus expanding their audience base. Join this session on the benefits
   and principles of incorporating inclusive principles into research projects, hosted in partnership with ESOMAR. You
   can register here. This session will be recorded.

                                                          Appendix 122

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   4. Spotlight: How do you translate happiness into brand success? (5 Oct, remote) - Current and future
   events, like the global pandemic and ongoing unrest in Ukraine, may change how consumers define happiness.
   Brands need to keep track of what makes consumers happy and how they can adhere to and implement the
   values and initiatives that spark this sentiment. A discussion with Danone, Colgate-Palmolive, Mondelez, and
   buzzback reveals what makes consumers happy and how brands can meet their needs. You can register here.
   This session will be recorded.

   5. Insight Forum (8 Nov, Amsterdam) - Members of WFA's Marketing, Insight, Media, and Sourcing Forums will
   come together and connect with their peers, as well as colleagues outside of their discipline, tackling the common
   goal of better marketing effectiveness. WFA Forum Connect offers the best of both worlds: the inspiration and
   networking of a world-leading brand-owner conference, alongside world-class knowledge exchange. Insight Forum
   participants will hear case studies from Philips, Heineken, and Mars. The agenda is here. and you can register
   here. This session will not be recorded.

   Please don't hesitate to get in touch, should you have any questions. Looking forward to welcoming you to our
   upcoming events!

   Have a lovely day,




   WF A - World Federation of Advertisers
   Brussels • London • New York • Singapore




   WFA values and encourages flexible working patterns, with teams working across multiple time zones.
   Although I have sent this at a time that is convenient for me, it is not my expectation that you read,
   respond or follow up on this email outside your hours of work.




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